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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

LARRY S. MELTON, et al.,
Plaintiffs,
vs. Civ. No. 02-1242-T[P

JOHN JEWELL, et al.,

Defendants.

v\_r-._¢`_/`_¢v\_¢\_¢`_rv\~_¢

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
May 6, 2005. Present were Daniel Warlick, counsel for plaintiffs,
and George Petkoff, counsel for defendants. At the conference, the
following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l):
Completed

JOINING PARTIES: DOH€

AMENDING PLEADINGS: DOne

INITIAL MOTIONS TO DISMISS: DOne
COMPLETING ALL DISCOVERY: AUguSt l, 2005

(a) DOCUMENT PRODUCTION: August l, 2005

This document entered on the docket Sheet in compliance
With RuEe 58 and/or ?9(&1) FHCP on " '

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: AuguSt l, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 25):

(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: June 30, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: August 1, 2005

(3) EXPERT WITNESS DEPOSITIONS: September l, 2005
FILING DISPOSITIVE MOTIONS: NOne
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection, to the default, response,
answer, or objection shall be waived.

This case is set for a non-jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding' judge. It is anticipated. that the trial will last
approximately five (5) days.

This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

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At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the

scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

 

TU M. PHA`M
United States Magistrate Judge

5]/13/ 0>’

Date

 

OF TNNEESSEE

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This notice confirms a copy cf the document docketed as number 61 in
case 1:02-CV-01242 Was distributed by faX, mail, or direct printing on
May 17, 2005 tc the parties listed.

 

Gecrge S. Pethcff

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chcrable J ames Tcdd
US DISTRICT COURT

